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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
MIGUEL PARRACHO,                                  )
                                                  )
          Plaintiff(s),                           )
                                                  )
    v.                                            )          No. 4:21-CV-00128-SEP
                                                  )
MEDICREDIT, INC.,                                 )
                                                  )
          Defendant(s).                           )
                                                  )

         ORDER REFERRING CASE TO ALTERNATIVE DISPUTE RESOLUTION
      After due consideration of the issues and in consultation with the parties, the Court finds

that this cause is appropriate for referral to an alternative form of dispute resolution as provided

by the local rules of this Court.

      IT IS HEREBY ORDERED that:

      (a) Referral to ADR: This case is referred to: Mediation

      (b) Conduct of ADR Conference(s): The ADR conference(s) shall be conducted in

accordance with the procedures outlined in E.D.Mo. L.R. 6.01 - 6.05.

      (c) Scheduling ADR Conference(s): The ADR conference(s) shall be concluded before

January 14, 2022, unless extended by order of the Court. Although ADR conferences may be

conducted at any location agreed to by the parties, counsel, and the assigned neutral, the parties

are advised that such conferences may be conducted in designated space in the United States

District Court, 111 South 10th Street, 5th Floor, St. Louis, Missouri, and United States District

Court, 555 Independence Street, Cape Girardeau, Missouri, by making arrangements with the

Office of the Clerk.
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      (d) General Rules Governing ADR Conference(s): The ADR procedures are defined

and the process shall be conducted in accordance with E.D.Mo. L.R. 6.01-6.05. The following

Orders are entered in this matter:

           (1) Designation of Lead Counsel: Mohammed Badwan is designated as lead
          counsel and shall be responsible for working with the parties and the neutral to
          coordinate an agreeable date, time, and, if necessary, location for the initial ADR
          conference.

           (2) Responsibilities of Lead Counsel: Not later than November 4, 2021, lead
          counsel shall notify the clerk of the agreed choice of neutral selected by the parties
          and the date, time and location of the initial ADR Conference (see Designation of
          Neutral/ADR Conference Report form, <www.moed.uscourts.gov>, ADR, forms).
          Upon selection of the neutral, lead counsel shall send a copy of this order to the
          neutral.

           (3) Authority of the Neutral: The neutral shall have authority to consult and
          conduct conferences and private caucuses with counsel, individual parties, corporate
          representatives and claims professionals, to suggest alternatives, analyze issues and
          positions, question perceptions, stimulate negotiations, and keep order.

           (4) Compliance with Deadlines: All deadlines must be complied with in a timely
          fashion and the appropriate forms filed with the Clerk of the District Court. If a
          deadline cannot be met, the designated lead counsel shall file a motion requesting
          an extension of the deadline prior to the expiration of that deadline. Noncompliance
          of any deadline set herein by this Court may result in the imposition of sanctions to
          the appropriate party or parties.

      Nothing in this order alters the Case Management Order previously entered in this

case. All deadlines set forth in that Case Management Order remain in full force and

effect.

      Dated this 15th day of October, 2021.




                                                  __
                                                  SARAH E. PITLYK
                                                  UNITED STATES DISTRICT JUDGE
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION
MIGUEL PARRACHO,                                 )
                                                 )
          Plaintiff(s),                          )
                                                 )
     v.                                          )         No. 4:21-CV-00128-SEP
                                                 )
MEDICREDIT, INC.,                                )
                                                 )
          Defendant(s).                          )
                                                 )

                       DESIGNATION OF NEUTRAL BY PARTIES
                                             AND
                               ADR CONFERENCE REPORT
      Pursuant to the Court's Order Referring Case to ADR for Mediation, dated October 15,

2021, the parties hereby designate by agreement the following individual from the Court's list of

Certified Neutrals to serve as Neutral in the above-styled action. Remove me.

          Name of Neutral/Firm:     _________________________________________
          Firm Address:             _________________________________________

                                    _________________________________________

          Telephone:                _____________ Fax: ______________
          The attorneys of record in this case are:
                Lead Counsel:       _________________________________________
                    Firm Address:   _________________________________________

                                    _________________________________________
                    Telephone:      _____________ Fax: ______________

                Other Counsel:      _________________________________________
                    Firm Address:   _________________________________________

                                    _________________________________________
                    Telephone:      _____________          Fax: ______________
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              The completion deadline for this ADR referral is January 14, 2022.
      The parties, in consultation with the assigned neutral, hereby designate by agreement the

following date, time, and location of the initial ADR conference:

    Date of Conference: ____________________, 20____

    Time of Conference: ____________________ a.m./p.m.

    Location of Conference (Check One):

     □ Designated Space at: Eastern District of Missouri
                            Thomas F. Eagleton Courthouse
                            111 South 10th Street
                            St. Louis, MO 63102
     □ Other Location:           __________________________________________________

                                 __________________________________________________
      All parties and the assigned neutral have been given at least fourteen (14) days notice of

the above-dated conference. The neutral shall schedule any additional conference(s) in

consultation with the parties.

      We, the undersigned parties to this action, declare that this designation is both consensual

and mutual.

  _________________                              ___________________________________
  Date
                                                 ___________________________________
                                                 Signature of Plaintiff(s)

                                                 ___________________________________

                                                 ___________________________________
                                                 Signature of Defendant(s)
